Case 6:12-cr-00344-EEF-PJH         Document 198       Filed 08/15/13    Page 1 of 2 PageID #:
                                           662



                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION

 UNITED STATES OF AMERICA                          CIVIL ACTION NO. 12-cr-00344-06

 VERSUS                                            JUDGE FOOTE

 CRYSTAL ANN SAMPY (06)                            MAGISTRATE JUDGE HANNA

                    REPORT AND RECOMMENDATION
                        ON FELONY GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

 consent of the defendant, this matter has been referred by the District Court for

 administration of Guilty Plea and Allocution under Rule 11 of the Federal Rules of Criminal

 Procedure.

        This cause came before the undersigned United States Magistrate Judge for a change-

 of-plea hearing and allocution of the defendant, CRYSTAL ANN SAMPY, on August 15,

 2013. The defendant was present with her counsel Carol B. Whitehurst.

        After the hearing and for the reasons orally assigned, the undersigned finds that the

 defendant is fully competent, that her guilty plea is knowing and voluntary, and that her

 guilty plea to Count Two of the Superceding Indictment is fully supported by a written

 factual basis for each of the essential elements of the offense.

        Therefore, the undersigned United States Magistrate Judge recommends that the

 District Court ACCEPT the guilty plea of the defendant, CRYSTAL ANN SAMPY, in

 accordance with the terms of the plea agreement filed in the record of these proceedings, and
Case 6:12-cr-00344-EEF-PJH        Document 198      Filed 08/15/13     Page 2 of 2 PageID #:
                                          663



 that CRYSTAL SAMPY be finally adjudged guilty of the offense charged in Count Two of

 the Superceding Indictment.

        Under the provisions of 28 U.S.C. § 636(b)(1)(C) and Fed. R. Crim. P. Rule 72(b),

 the parties have fourteen (14) days from service of this Report and Recommendation to file

 specific, written objections with the Clerk of Court. A party may respond to another party’s

 objections within fourteen (14) days after being served with a copy thereof. A courtesy

 copy of any objection or response or request for extension of time shall be furnished to the

 District Judge at the time of filing. Timely objections will be considered by the District

 Judge before she makes a final ruling.

        A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE

 PROPOSED         FINDINGS,       CONCLUSIONS,          AND     RECOMMENDATIONS

 CONTAINED IN THIS REPORT WITHIN FOURTEEN (14) DAYS FROM THE

 DATE OF ITS SERVICE SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON

 GROUNDS OF PLAIN ERROR, FROM ATTACKING ON APPEAL THE

 UNOBJECTED-TO            PROPOSED          FACTUAL        FINDINGS        AND     LEGAL

 CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

        THUS DONE AND SIGNED in chambers in Lafayette, Louisiana, on this the 15th

 day of August 2013.


                                           ____________________________________
                                           PATRICK J. HANNA
                                           UNITED STATES MAGISTRATE JUDGE

                                             -2-
